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                                  TYPE OF HEARING:
                                  CASE NUMBER: l'.\
                                  MAGISTRATE JUDGE: Ivan D. Davis
                                  DATE: 05/06/2019
                                  TIME:2:00 p.m.
EASTERN DISTRICT OF VIRGINIA      TAPE: FTR RECORDER
                                  DEPUTY CLERK: Laura Guerra
UNITED STATES OF AMERICA

           VS.



                                    e    u3eVTe\vC

GOVT. ATTY:       3\rr\ (3>\\\'lg>
DEFT'S ATTY:. ^\<\a S\nsberz^
DUTY AFPD:

INTERPRETER/LANGUAGE


DEFT INFORMED OF RIGHTS,CHARGES AND PENALTIES(><J
DEFT INFORMED OF RIGHTS AND THE VIOLATIONS( )
COURT TO APPOINT COUNSEL! ) FPD( )CJA( )Conflict List( )




BOND:

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  nn 7n,nfYy-                        V^d wil
( )DEFT IS REMANED TO THE CUSTODY OF THE USMS DUE TO
( )RISK OF NON APPEARANCE( )SAFETY OF THE COMMUNITY
( )DEFT RESERVES THE RIGHT OF THE COURTS DETERMINATION AS TO
DETENTION BASED ON A CHANGE OF CIRCUMSTANCES

NEXT COURT APPEARANCE                                 TIME *^'.00 Q,fV\
                                                        cnxB
